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                                   8                                    UNITED STATES DISTRICT COURT

                                   9                                   NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

                                  11     LAURA LOOMER, et al.,                                Case No. 22-cv-02646-LB
                                  12                     Plaintiffs,
Northern District of California
 United States District Court




                                                                                              JUDGMENT
                                  13              v.

                                  14     MARK ZUCKERBERG, et al.,
                                  15                     Defendants.

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                                  17      On September 30, 2023, the court granted the defendants’ motions to dismiss. Pursuant to

                                  18   Federal Rule of Civil Procedure 58, the court hereby enters judgment in favor of the defendants

                                  19   and against the plaintiff. The court directs the Clerk of Court to close the file in this matter.

                                  20      IT IS SO ORDERED.

                                  21      Dated: October 2, 2023

                                  22                                                     ______________________________________
                                                                                         LAUREL BEELER
                                  23                                                     United States Magistrate Judge
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                                       JUDGMENT – No. 22-cv-02646-LB
